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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT


            In re Subpoena to

   CHARTER COMMUNICATIONS, INC.,

                  Respondent,

                        v.
                                                 Miscellaneous Action No.
  KPM ANALYTICS, INCORPORATED F/K/A            _________________________
STATERA ANALYTICS, INCORPORATED AND
    KPM ANALYTICS NORTH AMERICA
  CORPORATION F/K/A PROCESS SENSORS
           CORPORATION,

                    Movant.


       IEP TECHNOLOGIES, LLC,

          Plaintiff / Counter-Defendant,
                                                     Civil Action No.
                        v.                         1:21-cv-10417-RWZ
                                                        (D. Mass.)
        KPM ANALYTICS, et al.,

        Defendants / Counter-Claimants.


                                   EXHIBIT F
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